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                  IN THE UNITED STATES DISTRICT COURT,
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION


TYRONE OLIVER,

      Plaintiff,

vs.                                            No.   09-2555-AV

DEUTSCHE BANK NATIONAL
TRUST COMPANY,

      Defendant.


         REPORT AND RECOMMENDATION ON MOTION TO DISMISS OF
                DEUTSCHE BANK NATIONAL TRUST COMPANY


      Before the court is the February 1, 2010 motion of the

defendant, Deutsche Bank National Trust Company (“Deutsche Bank”),

pursuant to Rules 37(b)(2) & 41 of the Federal Rules of Civil

Procedure, to dismiss the complaint of the plaintiff, Tyrone

Oliver, for failing to comply with the court’s discovery order of

December 30, 2009, requiring Oliver to serve his Rule 26(a)(1)

initial disclosures on Deutsche Bank within fifteen days of entry

of the order.       The motion was referred to the United States

Magistrate Judge for a report and recommendation.               Oliver has

failed to respond to the motion to dismiss within the time period

for response.    For the reasons that follow, it is recommended that

Deutsche Bank’s motion to dismiss the complaint be granted.

      Pursuant to the Scheduling Order entered September 14, 2009,

the deadline for service of Rule 26(a)(1) initial disclosures was

established as September 25, 2009.          Oliver failed to serve his
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initial disclosures on Deutsche Bank.             On December 7, 2009,

Deutsche Bank moved to compel Oliver serve his initial disclosures.

Oliver did not respond to the motion to compel.         The court granted

the motion to compel December 30, 2009, directing Oliver to serve

full and complete initial disclosures on Deutsche Bank on or before

January 15, 2010.     Oliver failed to serve his initial disclosures

as ordered by the court.          (Def.’s Mot. to Dismiss 3-4.)           On

February 2, 2010, Deutsche Bank filed this present motion to

dismiss the complaint as a sanction for failing to comply with the

court’s order to provide initial disclosures. Oliver’s response to

the motion was due on February 19, 2010, but Oliver did not file a

responsive pleading to Deutsche Bank’s motion to dismiss.

     If a party fails to serve initial discolsures, the court may

order sanctions.     FED. R. CIV. P. 37(c).      Such orders include the

imposition of any of the sanctions listed in Rule 37(b)(2)(A)(i) -

(vi), among which is dismissal of the action in whole or in part.

FED. R. CIV. P. 37(c)(1)(C).    The Sixth Circuit regards the sanction

of dismissal under Rule 37 for failure to cooperate in discovery to

be “the sanction of last resort.”        Beil v. Lakewood Eng’g & Mfg.

Co., 15 F.3d 546, 552 (6th Cir. 1994).         Dismissal may be imposed

“only if the court concludes that a party’s failure to cooperate is

due to willfulness, bad faith, or fault.”           Reg’l Refuse Sys. v.

Inland Reclamation Co., 842 F.2d 150, 153-54 (6th Cir. 1988).             In

determining whether to dismiss an action for failure to cooperate


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in discovery, the court should consider (1) whether the party acted

with willfulness, bad faith, or fault; (2) whether prejudice

resulted from the discovery violation; (3) whether the party had

been warned that his conduct could lead to extreme sanctions; and

(4) whether less drastic sanctions were previously imposed or

should be considered.     Freeland v. Amigo, 103 F.3d 1271, 1277 (6th

Cir. 1997); Bass v. Jostens, Inc., 71 F.3d 237, 241 (6th Cir.

1995); Bank One of Cleveland, N.A. v. Abbe, 916 F.2d 1067, 1073

(6th Cir. 1990).

     Dismissal of Oliver’s complaint is an appropriate sanction.

All four factors of the Sixth Circuit’s test are satisfied. First,

Oliver’s failure to serve initial disclosures is due to his own

willfulness and fault.      To dismiss an action with prejudice under

Rule 37, the Sixth Circuit has held that the first factor is

satisfied only if “a clear record of delay or contumacious conduct”

exists.   Freeland, 103 F.3d at 1277. In the present action, Oliver

has had ample time, over five months, to serve initial disclosures

on Deutsche Bank.      Oliver, however, failed to serve his initial

disclosures, to file a response to the motion to compel, to comply

with the court’s order, and finally, failed to even respond to the

motion to dismiss.      This course of conduct constitutes a clear

record of delay and evidences Oliver’s willful behavior in not

responding.

     Second, Deutsche Bank has been prejudiced because it has been


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unable to move forward in preparing its defense without Oliver’s

initial disclosures.     Furthermore, Oliver’s failure to respond has

forced Deutsche Bank to waste time, money, and effort in pursuit of

information that Oliver was obligated to provide.

     Third, Oliver was clearly and definitively warned by the court

that failure to comply with the court’s order would lead to

sanctions.   The court’s December 30, 2009 order firmly stated that

failure to comply would result in dismissal of the complaint.

     Finally, less drastic remedies would be ineffective.             Oliver

has exhibited a disregard for discovery deadlines and has shown

contempt for an order of this court.           In light of those facts,

alternative remedies would be ineffective.

     Dismissal is also appropriate under Rule 41 for failure of

Oliver to comply with this court’s order.         Rule 41(b) provides:

     If the plaintiff fails to prosecute or to comply with
     these rules or a court order, a defendant may move to
     dismiss the action or any claim against it. Unless the
     dismissal order states otherwise, a dismissal under this
     subdivision (b) and any dismissal not under this rule -
     except one for lack of jurisdiction, improper venue, or
     for failure to join a party under Rule 19 - operates as
     an adjudication upon the merits.

FED. R. CIV. P. 41(b) (emphasis added).       Here, Oliver has failed to

comply with the Rules and an order of the court but has not offered

any justification for his failure.       Oliver was sufficiently warned

that failure to comply with the court’s order would result in

dismissal of his complaint.

     Accordingly, it is recommended that Deutsche Bank’s motion to

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dismiss be granted and that Oliver’s complaint be dismissed with

prejudice.

     Respectfully submitted this 10th day of March, 2010.




                                   s/ Diane K. Vescovo
                                   DIANE K. VESCOVO
                                   UNITED STATES MAGISTRATE JUDGE




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